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1
                               UNITED STATES DISTICT COURT
2
                                         FOR THE
3                                 DISTRICT OF COLUMBIA
4
     UNITED STATES OF AMERICA,
5
                  Plaintiff,
6
     vs.
7
                                                                21-MJ-00014 (GMH)
8

9    ANTHIME GIONET,
10                Defendant.
11                                           ORDER

12         Upon consideration of the                                                this matter
13
                                               , it is hereby
14
           ORDERED,
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16                              the status     currently              for June 25, 2021

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